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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NORTH DAKOTA
SOUTHEASTERN DIVISION

ALIEN TECHNOLOGY CORP., a
Delaware corporation,

Plaintiff, Civil Action No. 3:06-CV-51

Vv.

INTERMEC, INC., a Delaware corporation,
INTERMEC TECHNOLOGIES CORP., a
Washington corporation, and INTERMEC IP
CORP., a Delaware corporation,

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)
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)
) Judge Rodney S. Webb
)
) Magistrate Judge Karen K. Klein
)
)
Defendants. )

DEFENDANTS’? MEMORANDUM IN SUPPORT
OF THEIR MOTION TO DISMISS

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INTRODUCTION

Alien Technology Corporation (“Alien”) started this lawsuit in this Court on June 1, 2006
by filing a Complaint for a declaratory judgment against Intermec, Inc. (“Intermec”) and
Intermec IP Corp. (“TIP”). During the next two weeks, Alien apparently decided that it needed to
add one more party to this action. Accordingly, Alien filed its First Amended Complaint on June
16, 2006, several days before the deadline for original defendants to answer or otherwise respond
to the original Complaint. The only difference between the original and the First Amended
Complaints was the addition of Intermec Technologies Corp. (“ITC”) as a defendant.

Alien alleges that this Court has subject matter jurisdiction over Alien’s claims for
declaratory relief “by reason of Title 28, United States Code, Sections 1331 and 1338(a).” First
Amended Complaint (““Am. Compl.), attached to the Decalaration of David S. Becker (“Becker
Decl.”) as Exhibit A, at 95. The only basis for this claim is the assertion that, on May 8, 2006,
Intermec, IIP and ITC (the “Intermec defendants”) threatened to sue Alien for patent
infringement and engaged in other conduct that has created in Alien an objectively reasonable
apprehension of suit.” Am. Compl. at { 1.

The First Amended Complaint goes on to request that this Court declare that 10 radio
frequency identification (“RFID”) patents owned by IIP (the “patents-in-suit’’) are “invalid and
further to declare that, by making, using, or offering to sell its products, Alien does not infringe
any valid claim of the patents in suit.” Am..Compl. at 9 1. Although Alien was required to
describe the Alien products that were the subject of the alleged threat, it failed to do so. See

generally Am. Compl.
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Alien alleges that this Court can exercise personal jurisdiction over Intermec, IP and
ITC. Am. Compl. at J 6. The only basis for this claim is the “information and belief’ assertion
that “the Intermec Defendants provide supply chain information products, services, and systems
to companies in hundreds of industries around the world, and the Intermec Defendants serve
thousands of customers worldwide, including customers in the State of North Dakota.” Am.
Compl. at J 6.

Alien also alleges that venue is properly laid in this Court. The only basis for this claim
is the same one given in support of the personal jurisdiction claim — 1e., the “information and
belief” allegation that “the Intermec Defendants provide supply chain information products,
services and systems to companies in hundreds of industries around the world, and the Intermec
Defendants serve thousands of customers worldwide, including customers in this District.” Am.
Compl. at { 6.

For the reasons set forth below, the First Amended Complaint must be dismissed without
leave to amend because this Court lacks subject matter jurisdiction and the defect cannot be
cured. The First Amended Complaint must also be dismissed without leave to amend because
this Court lacks personal jurisdiction over Intermec, IIP and ITC and this defect cannot be cured.
Finally, the First Amended Complaint must be dismissed for failure to state any claim for which
relief can be granted because Alien failed to identify the products supposedly at risk to a patent

infringement suit with the specificity required by law.
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STATEMENT OF THE FACTS
The Plaintiff, Alien, is incorporated in the State of Delaware and has its principal place
of business in Morgan Hill, California. Am. Compl. at § 2. “Alien is a manufacturer of [RFID]

products.” Jd.

The Defendants. Intermec and IP are incorporated under the laws of Delaware.

Declaration of Kenneth Cohen (“Cohen Decl.”’), attached to Becker Decl. as Exhibit B, at {ff 8,
15. ITC is incorporated under the laws of Washington. Jd. at § 22. Intermec and ITC are
headquartered in Everett Washington and IP is headquartered in Henderson, Nevada. Cohen
Decl. at FJ 8, 15, 22.

‘Contrary to Alien’s assertions, Intermec is nothing more than a holding company. Cohen
Decl.. at § 9. Intermec does not manufacture or sell any products or sell any services of any kind
whatsoever. Cohen Decl. at § 9. Intermec does not have any customers in North Dakota or
anywhere else. Cohen Decl. at § 9, 10. Intermec has no offices or employees located in North
Dakota and Intermec does not own any assets located in that state. Cohen Decl. at { 9-11.
Intermec has never paid taxes in the State of North Dakota and has never filed suit in that state.
Cohen Decl. at { 13, 14.

IIP is a wholly-owned subsidiary of ITC and the sole owner of the RFID patents-in-suit.
Cohen Decl. at {J 16, 22. IIP’s only business is to own patents, enforce them, and collect
royalties. Cohen Decl. at § 16. IP has no offices or employees in North Dakota and it has never
paid taxes or filed suit in that state. Cohen Decl. at J] 18, 20, 21.

ITC, a wholly-owned subsidiary of Intermec, manufacturers and sells automated

identification and data collection (“AIDC”) products, systems and related services, including
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RFID products, systems and services. Cohen Decl. at | 23. ITC does not manufacture any
products in North Dakota, it has no offices or employees in that state, it does not own any assets
located in that state and it has never paid taxes or filed suit in that state. Cohen Decl. at {J 24,
25, 27, 30.

In its most recent fiscal year (2005), ITC sold products into and provided services
elsewhere for entities in North Dakota of less than $270,000. Cohen Decl. at { 28. This is only
.0571 percent of ITC’s 2005 U.S. sales of $472,670,567. Jd. Of ITC’s North Dakota sales,
$182,000 or 67% were made to a single customer largely for services provided outside the state
of North Dakota. Jd. None of those North Dakota sales were for the types of RFID products at
issue in this case. Cohen Decl. at J 29.

The Non-Existent Threat. As noted earlier, Alien has alleged that the Intermec

defendants threatened to sue Alien for infringement of the patents-in-suit on May 8, 2006. That
assertion is completely false since none of the Intermec defendants directly informed Alien of
any intent to file an infringement suit involving the patents-in-suit on May 8, 2006 or any date
prior to June 1, 2006 when the original Complaint was filed. See Cohen Decl. at 7 5, 6, 7; see
also generally Transcript of the Intermec, Inc. Earning Conference Call, Dated May 8, 2006
(“Earnings Call Tr.”’), attached to Becker Decl. as Exhibit C, at pp. 11-12, 15-16.

- The only thing that happened prior to the filing of the original Complaint on June 1, 2006
was Intermec’s earnings call on May 8, 2006 (the “Earnings Call”). Cohen Decl. at 16. Nothing
said during the Earnings Call could possibly oreate’an objectively reasonable apprehension that
Alien was in immediate jeopardy of being sued for infringement by DP, the sole owner of the

RFID patents-in-suit. See Earnings Call Tr. at 11-12, 15-16.
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Possible infringers like Alien were only mentioned twice during the Earnings Call. The
first occurred when Steve Winter, Senior Vice President of Intermec was asked the following

question and gave the following answer from Intermec’s headquarters in Everett, Washington:

Question

One question on RFID and royalty revenues on a go-forward basis. You have a
number of non-licensed companies out there selling products, some of which are
winning large size contracts,. How long can you wait before needing to step in
and enforce the Rapid Start program?

Answer

It’s obviously disappointing if any customer were to do business with a supplier
that is not licensed. But you know, we have consistently stated we will be
pursuing infringers. We are putting together cases. We are looking at those who
are most disruptive to the industry right now. And basically, preparations are
underway with respect to unlicensed suppliers like Alien and others. And we
expect those enforcement actions by the end of the year, or within this year.

Earnings Call Tr. at pp. 11-12.
The second and last reference to Alien during the Earnings Call occurred when

Intermec’s Chairman and Chief Executive Officer, Larry Brady was asked the following

question and gave the following response from Intermec’s headquarters in Everett, Washington:

Question

In terms of the fact that you mentioned on this call that you might be taking some
legal action against folks that have not been signed up so far for Rapid Start at
some point during the year, could you give us some color as to what potential
impact on your SG&A line could be of taking such action, or whether similar to
the (indiscernible) settlements you might have it not impacting you expense line
in the near-term?

Answer
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I think given the circumstances that we are currently looking at — that is, the
amazing propensity of people to take business well below cost, and the amazing
publicity which such actions receive — that we are apt to move in advance of
where we would have originally intended. And indeed, the limitation on when
we will take action now is more related to just the [wickets] that we have to go
through — that is, get the product, and disassemble the product and understand
that infringement is occurring. Because we’ve got a certain obligation, before we
can just go out and willy nilly start filing lawsuits, to demonstrate that there’s a
cause of action. So that is the path that we are currently on.

Earnings Call Tr. at pp. 15-16.
ARGUMENT

I. THIS COURT LACKS SUBJECT MATTER JURISDICTION.

For a declaratory-judgment action for non-infringement or invalidity of a patent to
survive a motion to dismiss on subject matter jurisdiction grounds, the plaintiff must establish
that two conditions have been satisfied. First, as of the date of the complaint, there must have
been an explicit threat or other action by the patent owner that creates an objectively reasonable
apprehension on the part of the plaintiff that it is about to be sued for patent infringement.
Second, as of the date of the complaint, there must be activity that would constitute infringement
or concrete steps taken with the intent to conduct such activity. BP Chemicals Ltd. v. Union
Carbide Corp., 4 F.3d 975, 979 (Fed. Cir. 1993). The burden of pleading and proving the
existence of an actual controversy is on the plaintiff. Shell Oil Co. v. Amoco Corp., 970 F.2d
885, 887 (Fed. Cir. 1992).

Alien’s claim that a case or controversy existed as of the date of the original Complaint
(June 1, 2006) rests on a single, conclusory reference to May 8, 2006, a time when Alien alleges —
that Intermec “threaten[ed] to sue Alien for patent infringement... .” Am. Compl. at ff 1, 20,
26, 32, 38, 44, 50, 56, 62, 68, and 74. Unsupported conclusions, however, are insufficient to

withstand a motion to dismiss and this Court may look behind the complaint and view the actual
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facts to determine whether a controversy actually exists. Gibbs v. Buck, 307 U.S. 66, 72, 59
S.Ct. 725 (1939) (“The burden of showing by the admitted facts that the federal court has
jurisdiction rests upon the complainants. If there were any doubt of the good faith of the
allegations, the court might have called for their justification by evidence.”)

The only possibly relevant event that occurred on May 8, 2006 was the Earnings Call in
which Intermec executives gave a statement to and answered questions posed by a group of
financial analysts. Possible infringers like Alien were only mentioned twice during the Earnings
Call and no reasonable person could conclude from those comments that a patent infringement
lawsuit by Intermec against Alien was imminent. .

During the question-and-answer portion of the Earnings Call, Steve Winter, President and
C.0.O. of Intermec, gave the following answer regarding potential infringement actions against
third parties:

But you know, we have consistently stated we will be pursuing infringers. We are
putting together cases. We are looking at those who are most disruptive to the
industry right now. And basically, preparations are underway with respect to
unlicensed suppliers like Alien and others. And we expect those enforcement
actions by the end of the year, or within this year.

Earnings Call Tr. at pp. 11-12. Later in the Earnings Call, Larry Brady, President, Chairman and
CEO of Intermec, explained the “preparations” that were underway:

J think given the circumstances that we are currently looking at -- that is, the
amazing propensity of people to take business well below cost, and the amazing
publicity which such actions receive -- that we are apt to move in advance of
where we would have originally intended. And indeed, the limitation on when we
will take action now is more related to just the wickets that we. have to go
through -- that is, get the product, and disassemble the product and understand
that infringement is occurring. Because. we've got a certain obligation, before
we just go out and willy nilly start filing lawsuits, to demonstrate that there's
cause of action. So that is the path that we are, currently on.

Earnings Call Tr. at p. 16 (emphasis added).
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The only conclusion that can be drawn from these May 8 comments is that Intermec was
conducting an investigation of potential infringement against unlicensed companies selling RFID
products and that the investigation involved a comparison of potentially-infringing products with
the RFID patents owned by IIP. Nothing said by Messrs. Winter or Brady established that any
Intermec entity had reached a conclusion about patent infringement with respect to Alien or any
other unlicensed company, or that any Intermec entity was on the verge of filing a patent-
infringement action against Alien or anyone else. The only conclusion that could be drawn from
those comments is that Intermec had undertaken a Rule 11 investigation of RFID products sold
by Alien and other unlicensed companies.. See, e.g., Antonius v. Spalding, 275 F.3d 1066 (Fed.
Cir. 2002) (a pre-filing investigation and determination of infringement is required under —
FED.R.CIv.P. 11).

Disclosure of a Rule 11 investigation which is not yet complete and which includes no’
statement of the results of the investigation is not a threat of suit sufficient to sustain a
declaratory judgment action. American Needle and Novelty, Co. v. Schuessler Knitting Mills,
379 F.2d 376, 379 (7th Cir. 1967) (the patentee “should have the privilege of making a fair
investigation as to the possible infringement of his patent without calling down on his head...
[a] declaratory judgment suit... .”).

‘In addressing a remarkably similar situation, the Federal Circuit noted that statements of
a patentee, reassuring investors that it will enforce its patent portfolio, cannot give rise to a
reasonable apprehension of suit on. the part of an unlicensed company. Cygnus Therapeutics
Systems v. Alza Corp., 92 F.3d 1153, 1160 (Fed. Cir. 1996), overruled on other grounds,

Nobelpharma AB v. Implant Innovations, inc., 141 F.3d 1059, 1068 (Fed. Cir. 1998). In Cygnus,
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an executive of the declaratory-judgment defendant attended a “highly visible private investment
conference,” and made the following statement regarding enforcement of intellectual property
rights:

The question is that I mentioned a number of companies are developing products

that are covered by our patents, what is our policy. They won’t market the

products because we’re not going to give them licenses and the patents are valid.

In many cases, they’ve already been challenged and upheld. And our policy will

be that we have spent a great deal of money developing this technology and we

have a very strong proprietary position.

Cygnus, 92 F.3d at 1156. Despite defendant’s mentioning specific companies and making
affirmative statements that no license would be granted, the Federal Circuit held that the
statements could not give rise to the reasonable apprehension of suit required to support a
declaratory judgment action. Jd. at 1160.

Apart from the wholly inadequate reference to the Earnings Call, Alien pleads no facts to
support its claim of an objectively reasonable apprehension of a patent infringement suit. Alien
alleges no facts showing any contact between it and any of the Intermec Defendants regarding
the patents-in-suit. West Interactive Corp. v. First Data Resources, Inc., 972 F.3d at 1295, 1297-
98 (Fed. Cir. 1992) (no reasonable apprehension of suit where there was no contact between a
plaintiff and a defendant); Shell Oil Co. v. Amoco Corp., 970 F.2d 885, 889 (Fed. Cir. 1992) (no

actual controversy where declaratory-judgment defendant had made no assertive contact
concerning the patents at issue).

Alien does not claim that any of the Intermec Defendants contacted any of its customers
concerning the patents-in-suit. International Harvester Co. v. Deere & Co., 623 F.2d 1207, 1211

(7th Cir. 1980) (lack of contact between defendant and customers supported holding of no case-

or-controversy). Alien also fails to identify a single Alien product as the target of the allegedly
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impending infringement action, even though the pleading rules for declaratory judgment actions
of this type require such specificity. See McPherson ’s Ltd. v. Never Dull, Inc., 960 F.2d 156,
1992 WL 52140 (Fed. Cir. 1992) (dismissing a declaratory judgment action for failing to identify
the products supposedly accused of wnfringement.); Sierra App’d Sciences, Inc. v. Advanced
Energy Inds., Inc., 363 F.3d 1361, 1374-5 (Fed. Cir. 2004) (requiring specific allegations of
apprehension of suit for each specific product for which declaratory judgment was sought).

Alien’s “case or controversy” allegations are so skimpy because nothing transpired prior
to the filing of the original Complaint which would give rise to an objectively reasonable
apprehension that Intermec was about to file a patent-infringement suit against Alien. At most,
Alien’s complaint shows it has a subjective fear of an infringement suit but, subject matter
jurisdiction for a declaratory judgment action cannot be based on the “nervous mind” of a
potential infringer. Phillips Plastics Corp. v. Kato Hatsujou Kabushiki Kaisha, 57 F.3d 1051,
1053 (Fed. Cir. 1995) (“The reasonable apprehension of suit requires more than the nervous state
of mind of a possible infringer; it requires that the objective circumstances support such an
apprehension.”); BP Chems. v. Union Carbide Corp., 4 F.3d 975, 979 (Fed. Cir. 1993) (“a
subjective apprehension is insufficient without objective substance’).

Since there was no objective evidence to support Alien’s fear of a patent infringement
suit on the date that the original Complaint was filed, the absence of subject matter jurisdiction —
cannot be cured. GAF Building Materials Corp. v. Elk Corp. of Dallas, 90 F.3d 479, 482 (Fed.
Cir. 1996) (“‘Justiciability must be judged as of the time of filing, not as of some indeterminate
future date... .””); Arrowhead Industrial Water, Inc. v. Ecolochem, Inc., 846 F.2d 731, 734 n.2

(Fed. Cir. 1988) (“The presence or absence of jurisdiction must be determined on the facts

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existing at the time the complaint under consideration was filed.”). This Court must therefore
dismiss the First Amended Complaint without leave to amend.

I. THis COURT LACKS PERSONAL JURISDICTION OVER INTERMEC IP.

In order for this Court to exercise personal jurisdiction over any of the defendants, Alien
must make a prima facie showing that personal jurisdiction is appropriate in this forum as to
each defendant. Silent Drive, Inc. v. Strong Industries, Inc., 326 F.3d 1194, 1201 (Fed. Cir.
-2003). The court considers the parties’ pleadings and affidavits and makes the determination of
whether there are adequate contacts with the forum to warrant the exercise of personal
jurisdiction. Jd.

Personal jurisdiction in a patent-declaratory-judgment action requires a showing of
constitutionally-sufficient minimum contacts with the chosen jurisdiction. Red Wing Shoe Co. v.
Hockerson-Halberstadt, Inc., 148 F.3d 1355, 1358-59 (Fed. Cir. 1998) citing World-Wide
Volkswagon v.. Woodson, 444 U.S. 286, 297, 100 S.Ct. 559 (1980) Gurisdiction in a patent-
declaratory-judgment action is controiled by Federal Circuit precedent; where the state’s long-
arm statute is co-extensive with minimum due process requirements, defendant must have

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sufficient “minimum contacts” “such that [it] should reasonably anticipate being haled into” the
particular district court).

- The minimum-contacts test can be met where there is either general jurisdiction or
specific jurisdiction. Northpole US, LLC y. Price, No. 4:06CV0148 TCM, 2006 WL 1520641, at
*3 (E.D. Mo..May 31, 2006), citing Red Wing Shoe, 148 F.3d at 1359. General jurisdiction

refers to situations where the defendant purposefully directs activities at residents of the forum.

Id. Tn such a situation, a defendant whose contacts with the jurisdiction are continuous and

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systematic may be subject to jurisdiction even though the cause of action is unrelated to the
defendant’s contacts with the jurisdiction. Red Wing Shoe, 148 F.3d at 1359, citing Helicopteros
Nacionales de Columbia, S.A. v. Hall, 466 U.S..408, 414-16, 104 S.Ct. 1868 (1984). Specific
jurisdiction refers to situations where the cause of action arises out of or is related directly to a
defendant’s activities in the foram. Red Wing Shoe, 148 F.3d at 1359, citing Burger King v.
Rudzewicz, 471 U.S. 462, 476, 105 S.Ct. 2174 (1985). Whether general or specific jurisdiction is
claimed by the plaintiff, random, fortuitous or attenuated contacts do not count nor do contacts
resulting from unilateral activity of persons other than the defendant. Northpole, 2006 WL
1520641, at *3.

General jurisdiction does not exist in this district with respect to IIP because it does not
make, sell or provide any products, systems or services to residents of North Dakota or residents
of any other jurisdiction. Cohen Decl. at § 16, 17. I[IP’s only business is to own patents,

enforce them, and collect royalties from patent licensees. Cohen Decl. at { 16. IIP has no offices
or other assets or employees or agents in North Dakota and it has never paid taxes or filed suit in
that state. Cohen Decl. at J] 18, 20, 21.

Specific jurisdiction is also lacking with respect to ITP. Alien’s cause of action arises out
of a threat supposedly made on May 8, 2006 to file a patent-infringement action. Not only was
there no threat, but the only way that such a threat could give rise to specific jurisdiction in North
Dakota is if the threat was to file a patent infringement action in the State of North Dakota.

Nothing was said during the May 8, 2006 Earnings Call could be interpreted as a threat to file a

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patent infringement lawsuit against Alien in North Dakota. See generally Earnings Call Tr. In
fact, there was not a single reference to North Dakota during the Barings Call. id.'
Ill. Tsts Court LACKS PERSONAL JURISDICTION OVER INTERMEC, INC.

General jurisdiction does not exist in this district with respect to Intermec because it is
just a holding company. Intermec does not make, sell or provide any product, system or service
to anyone, let alone residents of the State of North Dakota. Cohen Decl. at {J 9, 10. Intermec is
not incorporated in North Dakota, its principal place of business is not located in North Dakota
and it has no offices, factories, warehouses, or other assets and no employees or agents in North
Dakota. Cohen Decl. at ff 8, 9, 10, 11.

Specific jurisdiction in this district is also lacking with respect to Intermec. As noted
earlier, Alien’s cause of action arises out of an alleged threat supposedly made on May 8, 2006
to file a patent-infringement action. Not only was there no threat, but the only way that such a
threat could give rise to specific jurisdiction in North Dakota is if the threat was to file a patent-
infringement action in the State of North Dakota. Nothing said during the May 8, 2006 Earnings
Call could be interpreted as a threat to file a patent infringement lawsuit against Alien in North
Dakota. See generally Earnings Call Tr. In fact, there was not a single reference to North
Dakota during the Earnings Call. Id.

IV. Tis CourT LACKS PERSONAL JURISDICTION OVER INTERMEC TECHNOLOGIES.

ITC is not subject to general jurisdiction in North Dakota because its contacts with North

Dakota are, at best, random, sporadic and attenuated. ITC is a Washington corporation with its

' Tt cannot be presumed that the hypothetical patent infringement lawsuit would be filed in North Dakota. There are
a number of other states where Alien can be found or is transacting business, including but not limited to the state in
which it is incorporated (Delaware) and the state where its principal place of business is located (California).

? See note 1, supra.

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principal place of business in Everett, Washington. Cohen Decl. at ¥ 22. It does not
manufacture any products in the North Dakota nor does it maintain any offices or have any
employees residing in North Dakota. Cohen Decl. at {{ 24, 25. It does not have a license to do
business in the North Dakota and has never filed a tax return there. Cohen Decl. at {J 26, 27.
ITC has not brought suit in any federal or state court in North Dakota. Cohen Decl. at { 31.

Since ITC is not found in North Dakota, the only other way to obtain general jurisdiction
in that state is to establish that ITC has substantial sales in North Dakota. That showing cannot
be made because ITC’s sales in North Dakota are de minimis in the extreme.

‘In its most recent fiscal year (2005), ITC’s U.S. sales revenues were $472,670,567.
Cohen Decl. at { 28. Of that total, less than $270,000 or 0.0571% were sales to customers in the
State of North Dakota and most of those revenues were generated from a single customer.
~ Cohen Decl. at § 28. This is obviously insufficient contact to give rise to general jurisdiction in
North Dakota. See Ensign v. Bank of Baker, 676 N.W.2d 786, 791-92 (N.D. 2004) (holding
defendant, who had no physical presence in North Dakota and provided only a limited amount of
its products to North Dakota was not subject to personal jurisdiction); Stairmaster
Sports/Medical Prods., Inc. v. Pacific Fitness Corp., 916 F. Supp. 1049, 1053 (W.D. Wash.
1994), aff'd 78 F.3d 602 (Fed. Cir. 1996) (applying Federal Circuit law, court rejected personal
jurisdiction over out-of-state defendant with less than 3% of total sales in forum state); McGill
Tech. Ltd. v. Gourmet Tech., Inc., et al., 300 F. Supp. 2d 501, 508 (E.D. Mich. 2004), citing
Hockerson-Halberstadt, Inc. v. Propet USA, Inc.,.62 Fed. Appx. 322 (Fed. Cir. 2003) (same in

case where out-of-state defendant had less that .25% of sales in forum state).
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Specific jurisdiction is also lacking with respect to ITC. As noted earlier, Alien’s cause
of action arises out of an alleged threat supposedly made on May 8, 2006 to file a patent
infringement action. Not only was there no threat, but the only way that such a threat could give
tise to specific jurisdiction in North Dakota is if the threat was to file a patent-infringement
action in the State of North Dakota. Nothing said during the May 8, 2006 Earnings Call could be
interpreted as a threat to file a patent infringement lawsuit against Alien in North Dakota. See
generally Earning Call Tr. In fact, there was not a single reference to North Dakota during the
Earnings Call. Id.*

V. VENUE Is NOT PROPERLY LAID IN THIS DISTRICT

Since none of the Intermec defendants are found in the State of North Dakota and
personal jurisdiction does not exist in North Dakota with respect to any of those defendants,
venue is not properly laid in this district. 28 U.S.C., § 1391 (b) and (c).

VI. ALIEN’S COMPLAINT FAILS TO STATE A CLAIM.

Even if subject matter and personal jurisdiction existed, Alien’s complaint would have to
be dismissed for failure to satisfy the pleading requirements of FED.R.CIv.P. 8 as that rule has
been applied in declaratory-judgment actions involving patents. Rule 8 requires that a complaint
give fair notice of what the plaintiff's claim is and the grounds upon which it rests in the form of

“short and plain statement of the claim showing that the pleader is entitled to relief. Conley v.
Gibson, 355 U.S. 41, 47, 78 S.Ct. 99 (1957). In patent cases (both infringement actions and

declaratory-judgment actions), failure to identify specific products that are supposedly non-

> See note 1, supra.

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infringing renders the complaint so unclear as to require dismissal. See, e.g., McPhereson, Lid.,
960 F.2d 156, 1992 WL at *3.

Alien’s non-infringement contentions provide no useful information about which Alien
products are supposedly non-infringing. Comp., {J 23, 29, 35, 41, 47, 53, 59, 65, 71, and 77.
(“[njone of [Alien’s] products, including but not limited to, its RFID tags and readers, infringe
any valid claim of the ... patent”). Pleading that a group of unidentified products do not
infringe is the same as not pleading any facts at all. See, e.g, Ondeo Nalco Co. v. Eka Chems.,
Inc., Case No. Civ.A. 01-537-SLR, 2002 U.S. Dist. LEXIS 26195, 3-5 (D.Del. June 10, 2002)
(dismissing counterclaims because “the pleadings are too vague to provide plaintiff with fair
notice of which products are accused of infringing defendant's patents.”).

This lack of specificity is unacceptable because it would force the Intermec defendants to
conduct a Rule 11 analysis of each product ever made by Alien to determine whether any of
those products infringe any of the 10 patents-in-suit and to complete all of this before the -
deadline for answering the First Amended Complaint. Antonius v. Spalding, 275 F.3d 1066
(Fed. Cir 2002). The only way to avoid this manifestly unfair situation is to dismiss the
complaint for failure to state a claim for which relief can be granted.

CONCLUSION
- For the above stated reasons, Alien’s First Amended Complaint must be dismissed
without leave to amend for lack of subject matter and personal jurisdiction and improper venue.
In the alternative, the First Amended Complaint must be dismissed for failure to state a claim for

which relief may be granted.

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Respectfully Submitted,

INTERMEC, INC., INTERMEC TECHOLOGIES
CORP., and INTERMEC IP CORP.

By: s/ Ronald H. McLean
One of Its Attorneys

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